Case 6:07-cv-00395-LED-JDL Document 63 Filed 01/18/10 Page 1 of 4 PageID #: 463



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

    GOOD SPORTSMAN MARKETING, LLC,                        §
    And IP HOLDINGS, INC.,                                §
                                                          §
           Plaintiffs,                                    §     CIVIL ACTION NO. 6:07-CV-395
                                                          §
    vs.                                                   §     Jury Trial Demanded
                                                          §
    LI & FUNG, LIMITED, LI & FUNG                         §
    (BVI) LIMITED, and TOY ISLAND (USA),                  §
    INC.                                                  §
                                                          §
           Defendants.                                    §
                                                          §

                            PLAINTIFFS’ MOTION FOR ENTRY OF
                         DISCOVERY AND DOCKET CONTROL ORDER

            Plaintiffs Good Sportsman Marketing, LLC, and IP Holdings, Inc., move the

    Court to enter the proposed Discovery and Docket Control Order and respond to the

    Court’s January 7, 2010 Order to Show Cause as follows.

            On September 15, 2009, the Court entered an order requiring the parties to submit

    a proposed agreed Docket Control and Discovery Order. See Docket No. 54. The Order

    established a deadline of September 22, 2009, for the parties to submit an agreed Docket

    Control and Discovery Order. The Order also established certain dates for a pretrial

    conference, jury selection and trial for this case.

            At the time, the parties were in the process of negotiating a settlement agreement

    concerning this dispute. See Exhibit A. These settlement negotiations began in July 2009

    and continued through November 2009. Id. In Mid-November, Plaintiffs believed they

    had reached an agreement in principle to settle this dispute. Plaintiffs’ counsel iformed



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Case 6:07-cv-00395-LED-JDL Document 63 Filed 01/18/10 Page 2 of 4 PageID #: 464



    the Court of this fact and explained that this was the reason why the parties had not

    submitted to the Court an agreed Docket Control and Discovery Order. Id.

           By the end of November 2009, however, it became apparent that the parties were

    not going to be able to agree to definitive terms to settle this case. See Exhibit A. On

    December 7, 2009, Plaintiffs counsel contacted Defendants’ counsel about the need to

    submit an agreed Docket Control and Discovery Order in view of the inability of the

    parties to reach a settlement. Plaintiffs’ counsel also provided Defendants’ counsel a

    proposed Docket Control and Discovery Order for review and comment. See Exhibit B.

    On December 15, 2009, Defendants’ counsel responded by rejecting Plaintiffs’ proposed

    Docket Control and Discovery Order but failed to provide an alternative proposal. See

    Exhibit B.

           Plaintiffs, therefore, request the Court to enter the attached proposed Docket

    Control and Discovery Order. Plaintiffs also apologize to the Court for the delay in

    submitting the proposed Docket Control and Discovery Order.

    Dated: January 18, 2010.

                                               Respectfully submitted,
                                               GREENBERG TRAURIG, LLP



                                                By:    /s/ Eric W. Buether ____________________
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Case 6:07-cv-00395-LED-JDL Document 63 Filed 01/18/10 Page 3 of 4 PageID #: 465




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                                             MARKETING, LLC, AND IP
                                             HOLDINGS, INC.




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Case 6:07-cv-00395-LED-JDL Document 63 Filed 01/18/10 Page 4 of 4 PageID #: 466




                                CERTIFICATE OF SERVICE

           I hereby certify that the foregoing was served via the CM/ECF filing system with
    the Clerk of the Court for the U.S. District Court for the Eastern District of Texas, Tyler
    Division on January 18, 2010.

                                         By:     s/Eric W. Buether
                                                 Eric W. Buether




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